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                          UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF TEXAS
                                  ABILENE DIVISION

 IN RE:                                         §
                                                §
 SHEKINAH OILFIELD SERVICES, INC.,              §               CASE NO. 21-10152
                                                §
          DEBTOR.                               §

               NOTICE OF PROPOSED CONFIRMATION HEARING NOTICE

In connection with the status conference set for May 11, 2022, the Debtor provides notice of the
Debtor’s proposed notice of confirmation hearing and plan related deadlines.

 Dated: May 10, 2022                     Respectfully submitted:

                                         WEYCER, KAPLAN, PULASKI & ZUBER, P.C.
                                         By:     /s/ Jeff Carruth
                                             JEFF CARRUTH (TX SBN:. 24001846)
                                             3030 Matlock Rd., Suite 201
                                             Arlington, Texas 76105
                                             Telephone: (713) 341-1158
                                             Fax: (866) 666-5322
                                             E-mail: jcarruth@wkpz.com
                                         ATTORNEYS FOR
                                         SHEKINAH OILFIELD SERVICES, INC.
                                         DEBTOR AND DEBTOR IN POSSESSION

                               CERTIFICATE OF SERVICE
A copy of the foregoing was provided only to all registered ECF users who have appeared in this
case.
                                                    /s/ Jeff Carruth
                                           JEFF CARRUTH




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                                            DRAFT
                               UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF TEXAS
                                       ABILENE DIVISION

    IN RE:                                                §
                                                          §
    SHEKINAH OILFIELD SERVICES, INC.,                     §                 CASE NO. 21-10152
                                                          §
             DEBTOR.                                      §

         NOTICE (I) OF HEARING TO CONSIDER CONFIRMATION OF FIRST
         AMENDED PLAN OF REORGANIZATION OF SHEKINAH OILFIELD
         SERVICES, INC. DATED MAY 10, 2022 AND (II) RELATED DEADLINES (RE:
         DOCKET NO. ####)

The Court has set a hearing (the “Confirmation Hearing”) as set forth below to consider the
confirmation of the First Amended Plan of Reorganization of Shekinah Oilfield Services, Inc.
Dated May 10, 2022 (Docket No. ####) (the “Plan”). Notice is hereby provided of the
Confirmation Hearing and of the related dates and deadlines as set forth below.

         1.      June 23, 2022 at 11:59 p.m. Central Time (CT) (the “Ballot Deadline” as shown
                 in the Plan) is provided as the last day for filing written acceptances or rejections
                 of the Debtor’s proposed Plan which must be received on that date at the offices of
                 Jeff Carruth, Weycer, Kaplan, Pulaski & Zuber, P.C. 3030 Matlock Rd., Suite 201
                 Arlington, TX 76015, facsimile (866) 666-5322, email jcarruth@wkpz.com.
                 Ballots may be accepted by mail, fax, and/or email but must arrive prior to the
                 Ballot Deadline.

         2.      July 23, 2022 at 11:59 p.m. Central Time (CT) (the “Objection Deadline” as
                 shown in the Plan) is provided as the last day for filing and serving written
                 objections to confirmation of the Plan pursuant to Fed. R. Bankr. P. 3020(b)(1) and
                 L.B.R. 3020-1.1

         3.      The Court will conduct an evidentiary hearing regarding confirmation of the Plan
                 (the “Confirmation Hearing” as shown in the Plan) on July 6, 2022, at 1:30 P.M.
                 Central Time (CT), which hearing may be adjourned or continued to a different
                 date without further notice other than notice given in open court at such hearing.2

         4.      The Confirmation Hearing will be conducted electronically before the Honorable
                 Robert L. Jones at the following location.



1
  L.B.R. 3020-1 Chapter 11 - Confirmation. Unless the court orders otherwise, an objection to confirmation shall be
filed and served no later than 4 days prior to the date set for hearing on confirmation of the plan.
2
  The hearing may extend to Monday, July 11, 2022 such other date and time set by the Court. See Gazette dates
at https://www.txnb.uscourts.gov/content/judge-robert-l-jones.

NOTICE (I) OF HEARING TO CONSIDER CONFIRMATION OF FIRST AMENDED
PLAN OF REORGANIZATION OF SHEKINAH OILFIELD SERVICES, INC.
DATED MAY 10, 2022 AND (II) RELATED DEADLINES— Page 1                                                 2136678.DOCX[1]
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                 U.S. Courthouse
                 Room 2000A (Live Docket)
                 Room 2201 (Video Docket)
                 341 Pine - 3rd & Pine
                 Abilene, TX 79601-3928



               THE HEARING WILL BE IN PERSON AND ALSO BE CONDUCTED BY
               THE WEBEX VIDEO AND AUDIO FACILITIES OF THE COURT.

               Webex information is available at the following link.

               https://www.txnb.uscourts.gov/judges-info/hearing-dates/judge-jones-hearing-dates


               The Court will post the Webex log in information for this hearing approximately
               2-3 business days prior to the hearing date at the link above.

PLEASE CONTACT THE UNDERSIGNED IF YOU WOULD LIKE TO RECEIVE A
COPY OF THE PLAN OR HAVE ANY QUESTIONS.

 Dated: May 10, 2022                       Respectfully submitted:

                                           WEYCER, KAPLAN, PULASKI & ZUBER, P.C.
                                           By:     draft
                                               JEFF CARRUTH (TX SBN:. 24001846)
                                               3030 Matlock Rd., Suite 201
                                               Arlington, Texas 76105
                                               Telephone: (713) 341-1158
                                               Fax: (866) 666-5322
                                               E-mail: jcarruth@wkpz.com
                                           ATTORNEYS FOR
                                           SHEKINAH OILFIELD SERVICES, INC.
                                           DEBTOR AND DEBTOR IN POSSESSION

                                  CERTIFICATE OF SERVICE
A separate certificate of service regarding the Plan solicitation set will be filed.
                                                      draft
                                               JEFF CARRUTH




NOTICE (I) OF HEARING TO CONSIDER CONFIRMATION OF FIRST AMENDED
PLAN OF REORGANIZATION OF SHEKINAH OILFIELD SERVICES, INC.
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